
996 So.2d 1060 (2008)
STATE ex rel. Corey Anthony DAVIS
v.
STATE of Louisiana.
No. 2008-KH-0427.
Supreme Court of Louisiana.
November 10, 2008.
Writ granted in part; otherwise denied. If it has not already done so, the district court is ordered to supply relator with a copy of his guilty plea colloquy transcript. State ex rel. Simmons v. State, 93-0275 (La.12/16/94), 647 So.2d 1094. In all other respects, the application is denied. State ex rel. Bernard v. Cr.D.C, 94-2247, p. 1 (La.4/28/95), 653 So.2d 1174, 1175.
WEIMER, J., recused.
